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                            UNITED STATESDISTRICT COURT
                        FOR THE NORTHERN DISTRICT OFILLINOIS
                                  EASTERN DIVISION



Robert Etten,onbeha lfofhimselfa nd a llothers
simila rly situ a ted,
                                                                    18-cv-03069
                                                         Ca se No:___________________
                Pla intiff,

v.                                                       CLASSACTION COM PLAINT

Cboe Globa lM a rkets,Inc.;Cboe Excha ng e,
Inc.;Cboe Fu tu res Excha ng e,LLC;a nd John
Does,                                                    JURY TRIALDEM ANDED
               Defenda nts.




        1.       Robert Etten(“Pla intiff”),by his u ndersig ned cou nsel,forhimselfa nd a llothers

simila rly situ a ted,hereby commences this cla ss a ctionsu it a g a inst Defenda nts Cboe Globa l

M a rkets,Inc.,Cboe Excha ng e,Inc.;Cboe Fu tu res Excha ng e,LLC (“Cboe Defenda nts”),a s well

a s the JohnDoe Defenda nts (“Doe Defenda nts”). Pla intiff’s a lleg a tions a re ba sed u ponhis

persona lknowledg e a s to his owna cts,a nd u poninforma tiona nd beliefa s to a llotherma tters

a lleg ed herein. Pla intiffa lleg es a s follows:

                                       I.      NATURE OFACTION

        2.       The Cboe Vola tility Index(“VIX”)is a popu la r,widely-u sed mea su re ofma rket

vola tility tha t is ca lcu la ted a nd pu blished by the Chica g o Boa rd Options Excha ng e (“Cboe”).

        3.       The VIX pu rportedly mea su res thirty-da y ma rket vola tility ba sed onthe pricing of

the S&P500Indexoptioncontra cts (“SPX Options”)tha t a re listed fortra ding onthe Cboe.
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        4.      The VIX is oftenreferred to a s a “fea rg a u g e”beca u se the vola tility it a ttempts to

mea su re is a produ ct ofinvestoru ncerta inty. As investoru ncerta inty increa ses,the VIX typica lly

rises,a nd inversely,whenthe ma rket is more sta ble,the VIX oftenfalls.

        5.      The VIX is not a fina ncia linstru ment itselftha t ca nbe directly invested in.

However,its existence prompted the crea tionofVIX-Linked Fu tu res (“VIX Fu tu res”),tra ded on

the Cboe Fu tu res Excha ng e (“CFE”);a nd VIX-Linked Options (“VIX Options”),which a re

tra ded onthe Cboe. There a re a lso billions ofdolla rs inexcha ng e-tra ded fu nds a nd excha ng e-

tra ded notes tha t a re linked to the pricing ofVIX Fu tu res (“VIX-Linked ETFs & ETNs”).

        6.      The VIX-Linked ETFs a nd ETNs— inclu ding the VelocitySha re Da ily Inverse

VIX Short-Term ETN (“XIV”),VelocitySha res Da ily 2xVIX Short-Term (“TVIX”),ProSha res

Short VIX Short-Term Fu tu res ETF(“SVXY”);ProSha res Ultra VIX Short-Term Fu tu res ETF

(“UVXY”);a nd iPa th S&P500VIX Short-Term Fu tu res ETN (“VXX”)— provide investors with

a ccess to fina ncia linstru ments rela ted to expected ma rket vola tility a nd a llow investors to bet on

the u pwa rd ordownwa rd price movement ofVIX Fu tu res. VIX Fu tu res,VIX Options,a nd VIX-

Linked ETFs a nd ETNs a re collectively referred to hereina s “VIX-Linked Instru ments.”

        7.      VIX price is ca lcu la ted a ccording to the rea ltime bid/askqu otes forSPX Options,

a nd incerta ininsta nces the a ctu a lprices ofSPX Options. Therefore,the pricing ofVIX-Linked

Instru ments is su bject to ma rket ma nipu la tionby investors who ta rg et the SPX Options ma rket

a nd the ca lcu la tionofVIX.

        8.      The connectionbetweenthe pricing ofthe VIX a nd the SPX Options ma rket is

illu stra ted inma rket experts’observa tions. Du ring the settlement period ofthe VIX,inwhich

prices u sed to settle expiring VIX Fu tu res a nd VIX Options a re ca lcu la ted,resea rchers observe

“hig hly sta tistica lly a nd economica lly sig nifica nt tra ding volu me spikes”inSPX Options,a nd


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specifica lly those SPX Options which a re otherwise ra rely tra ded. Resea rchers ha ve conclu ded

tha t the most likely ca ndida te forthese pa tterns is ma rket ma nipu la tion.1

        9.      OnFebru a ry 12,2018,a na nonymou s whistleblowersu bmitted a letter(the

“W histleblowerLetter”)to the Secu rities a nd Excha ng e Commission(“SEC”)a nd the

Commodity Fu tu res Tra ding Commission(“CFTC”)a lerting the a g encies to ma nipu la tive

a ctivity inthe VIX ma rket. The whistleblowera lleg ed tha t a “perva sive fla w [inthe ca lcu la tion

ofVIX]. . . a llows tra ding firms with sophistica ted a lg orithms to move the VIX u p ordownby

simply posting qu otes onS&POptions a nd withou t needing to physica lly eng a g e ina ny tra ding

ordeploying a ny ca pita l.”2 The sa me letterindica ted tha t this ma nipu la tive beha viorby tra ding

firms “led to mu ltiple billions inprofits effectively ta kena wa y from institu tiona la nd reta il

investors a nd ca shed inby u nethica lelectronic optionma rket ma kers.”3

        10.     UponPla intiff’s informa tiona nd belief,the JohnDoe Defenda nts— likely a g rou p

offina ncia linstitu tions a nd/ortra ders onthe Cboe— ma nipu la ted prices ofVIX-Linked

Instru ments since a t lea st 2004.

        11.     The Doe Defenda nts’ma nipu la tive condu ct ha s injured a nd continu es to injure

investors inVIX-Linked Instru ments. Pla intiffa nd members ofthe proposed cla ss defined infra

ha ve beenha rmed by Doe Defenda nts’condu ct inviola tionofSection1ofthe Sherma nAct,15

U.S.C. §1,a s wella s the Commodity Excha ng e Act,17U.S.C. §1,et seq.,a nd seekda ma g es



1
  JohnM . Griffin& AminSha ms,Manipulation in the VIX?,The Review ofFina ncia lStu dies (Au g . 2,
2017),available at http://www.jgriffin.info/wp-content/uploa ds/2017/12/vix_pu b.pdf[hereina fterGriffin
& Shams].
2
  Letterfrom Ja sonZu ckerma n& M a tt Stockto Ja mes M cDona ld,Esq.,DirectorofDivisionof
Enforcement,Commodity Fu tu res Tra ding Commission& Stepha nie Aka via n,Esq. & StevenPeikin,
Esq.,Co-Directors,DivisionofEnforcement,Secu rities a nd Excha ng e Commission(Feb. 12,2018),
https://
       a ssets.bwbx.io/docu ments/users/iqjW HBFdfxIU/r8LCxXQ4CfqU/v0[hereina fterWhistleblower
Letter].
3
  Id.
                                                     3
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a rising from Doe Defenda nts’condu ct,inclu ding injunctive reliefto enjointhe a lleg ed

ma nipu la tion,a nd trebled da ma g es a s provided by la w.

        12.     The Cboe Defenda nts a re a lso cu lpa ble forthe Doe Defenda nts’ma nipu la tion.

Cboe Defenda nts ha ve long known,orshou ld ha ve known,tha t the VIX wa s vu lnera ble to

ma nipu la tiona nd tha t it wa s infact being ma nipu la ted. The Cboe Defenda nts willfu lly ig nored

su ch ma nipu la tionbeca u se ofthe sta tu s ofVIX a s Cboe’s premierprodu ct. Beca u se the Cboe

Defenda nts ea rna fee whenVIX tra nsa ctions a re ma de,the VIX a nd its rela ted ma rkets ma ke the

Cboe Defenda nts millions ofdolla rs ina nnu a lrevenu e. The Cboe Defenda nts were strong ly

disincentivized to cra ckdownonVIX ma nipu la tion,a s it wou ld ha ve spooked theirinvestors

a nd hu rt theirbottom line.

        13.     Cboe Defenda nts viola ted theiroblig a tions u nderthe Commodity Excha ng e Act

throu g h theirfailu re to “prohibit[]a bu sive tra de pra ctices”,“prevent ma nipu la tion”,a nd not

a llow tra ding ininstru ments “rea dily su sceptible to ma nipu la tion.”7U.S.C. §§7(d),25(b).

                                 II.     JURISDICTION AND VENUE

        14.     The Cou rt ha s jurisdictionpu rsu a nt to 28U.S.C. §§1331a nd 1337(a),a nd

Section16ofthe Cla ytonAct,15U.S.C. §26,to recoverequ ita ble a nd injunctive relieffor

viola tions ofSection1ofthe Sherma nAct,15U.S.C. §1.

        15.     Venu e is properinthe NorthernDistrict ofIllinois pu rsu a nt to Sections 4(a)a nd

12ofthe Cla ytonAct,15U.S.C. §§15(a)a nd 22,a nd 28U.S.C. §1391(b),(c),a nd (d),beca u se

Defenda nts a re believed to ha ve tra nsa cted bu siness inthis District,a su bsta ntia lpa rt ofthe

events g iving rise to the cla ims occu rred withinthis District,a nd a su bsta ntia lportionofthe

a ffected intersta te tra de a nd commerce discu ssed hereinha s beenca rried ou t inthis District.




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        16.     This Cou rt ha s persona ljurisdictionoverea ch Defenda nt,beca u se ea ch

Defenda nt is believed to ha ve tra nsa cted bu siness throu g hou t the United Sta tes,inclu ding inthis

District a nd Divisionthrou g h Cboe Globa lM a rkets,Inc.;ea ch Defenda nt is believed to ha ve

su bsta ntia lconta cts with the United Sta tes,inclu ding inthis District;a nd ea ch Defenda nt is

believed to ha ve committed to overt a cts infu rthera nce ofa nilleg a lscheme a nd conspira cy in

the United Sta tes,inclu ding the ma nipu la tionofprices ofVIX-Linked Instru ments tra ded inthis

District. Ina ddition,the Doe Defenda nts’conspira cy wa s directed a t,a nd ha d the intended effect

of,ca u sing injury to persons residing in,loca ted in,ordoing bu siness inthe United Sta tes,

inclu ding inthis District a nd Division,a nd Pla intiff’s cla ims a rise ou t ofDefenda nts’condu ct.

        17.     The a ctivities ofDefenda nts were withinthe flow of,were intended to,a nd did

ha ve a su bsta ntia leffect onthe intersta te commerce ofthe United Sta tes.

                                             III.    PARTIES

    A.Plaintiff

        18.     Pla intiffRobert Ettenis a nindividu a lwho resides inRoseville,M innesota a nd

wa s a citizenofthe Sta te ofM innesota du ring the releva nt time fra me. M r. Ettentra nsa cted in

VIX-Linked Instru ments,specifica lly the iPa th S&P500VIX Short-Term Fu tu res ETN

(“VXX”),du ring the Cla ss Period. Defenda nts’condu ct ca u sed Pla intiffinjury a nd da ma g es.

    B.Defend ants

        19.     Cboe Globa lM a rkets,Inc. (“Cboe Globa lM a rkets”)is a pu blicly-tra ded

Dela wa re compa ny hea dqu a rtered inChica g o,Illinois. Cboe Fu tu res Excha ng e,LLC is a

wholly-owned su bsidia ry ofCboe Globa lM a rkets,Inc. Cboe Fu tu res Excha ng e,LLC is a

contra ct ma rket a pproved by the Commodities Fu tu res Tra ding Commissiontha t offers fu tu res

onthe VIX Indexfortra ding . Ba sed u ponPla intiff’s belief,Cboe Globa lM a rkets possesses the


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informa tionnecessa ry to identify specific Doe Defenda nts. Pla intiffwillbe a ble to identify the

Doe Defenda nts throu g h expedited jurisdictiona ldiscovery a nd willrequ est lea ve to a mend this

compla int u ponlea rning the identity ofDoe Defenda nts.

        20.      At this time,Pla intiffdoes not know the specific identities ofJohnDoe

Defenda nts beca u se the identities ofthose who tra ded SPX Options onthe Cboe a re a nonymou s.

Althou g h the exa ct nu mbera nd na tu re ofthe JohnDoes is not cu rrently knownto Pla intiff,the

na tu re ofthe ma nipu la tive condu ct a lleg ed lea ds Pla intiffto believe tha t the JohnDoes a re a

g rou p offina ncia linstitu tions a nd/ortra ders onthe Cboe. JohnDoe Defenda nts conspired to

ma nipu la te prices ofVIX-Linked Instru ments throu g h ma nipu la tionofthe prices orbid/ask

qu otes ofSPX Options tra ded throu g h Cboe a nd the prices ofVIX.

                                   IV.     FACTUAL ALLEGATIONS

    A.Backgrou nd

        21.      The VIX is oftenreferred to simply a s the ma rket’s “fea rg a u g e.”It wa s orig ina lly

crea ted in1993,bu t in2003wa s redesig ned by Cboe a nd Goldma nSa chs to opera te a s a

ba rometerforrea l-time estima tes ofma rket vola tility,a s mea su red by the midpoint ofva riou s

SPX Optionbid/askqu otes. The VIX is intended to be a rea l-time indica torofma rket

expecta tions forvola tility inthe S&P500Indexinthe thirty-da y spa nfollowing its

mea su rement.

        22.      The VIX u ses pricing ofSPX Options inits ca lcu la tionbeca u se the price

va lu a tionofSPX Options is one component ofdetermining vola tility expecta tions forthe S&P

500betweenthe option’s pu rcha se da te a nd the option’s expiry da te. Ifexpected vola tility is

hig h— i.e.,the S&P500is expected to swing dra ma tica lly— thenthe prices ofSPX Options often

pu rcha sed to hedg e a g a inst u ncerta inty increa ses. And conversely,ifthe S&P500is expected to


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be rela tively sta ble,the prices ofthose options willdecrea se beca u se there is less need for

hedg ing .

        23.     Beca u se the VIX is ca lcu la ted ba sed ona flu ctu a ting g rou p ofSPX Options,

investors do not directly invest inVIX itself. Instea d,there a re severa lderiva tive investments

tha t a re linked to VIX,which inclu de VIX Fu tu res a nd VIX Options tha t a re tra ded onthe CFE

a nd Cboe.

        24.     Deriva tive VIX ma rkets a llow investors to tra nsa ct ininstru ments tha t a re tied to

ma rket vola tility. Forexa mple,the price ofVIX Fu tu res increa se ifthe ma rket expecta tions for

vola tility increa se a bove certa inexpecta tions,which is reflected inthe contempora neou s VIX

price. Onthe otherend,the price ofVIX Fu tu res drop ifthe ma rket expecta tions ofvola tility

sinkbelow cu rrent expecta tions reflected inthe VIX price.

        25.     VIX Fu tu res a nd VIX Options tha t a re expiring a re u su a lly settled onthe third or

fou rth W ednesda y ofea ch month. The fina lsettlement va lu e forVIX Fu tu res a nd Options a re

determined onthe morning oftheirexpiry da te.

        26.     The fina lsettlement va lu es ofVIX Fu tu res a nd Options (“VIX Settlement Price”)

a re ca lcu la ted with a specia l,modified VIX ca lcu la tion. The VIX settlement process consists of

a na u ctionofSPX Options tha t close a t 8:30A.M . CSTonthe expiry da te a nd only ta kes into

considera tionou t-of-the-money (“OTM ”)SPX Options with non-zero bids,wherea s the ordina ry

VIX ca lcu la tioninclu des both OTM a nd “in-the-money”(“ITM ”)SPX Options.

        27.     Du e to sig nifica nt investorinterest,severa linstitu tions su ch a s Credit Su isse AG

(connected to VelocitySha res),Ba rcla ys Ba nkPLC (u nderthe “iPa th”na me),a nd ProSha res

issu e a na ssortment ofexcha ng e-tra ded fu nds a nd excha ng ed-tra ded notes tha t a re linked to the

pricing ofVIX Fu tu res.


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        28.     The VIX-Linked ETFs a nd ETNs g ive investors opportu nity to ta ke long a nd

short positions ba sed u ponthe pricing ofshort-ormediu m-term VIX Fu tu res. Credit Su isse AG,

forexa mple,offers a ninverse VIX-Linked ETN tha t is tra ded onthe NASDAQ tha t lets

investors bet tha t the prices ofVIX Fu tu res willdrop,inotherwords,wa g ering tha t the ma rket

willha ve a nincrea sed expecta tionsu bsiding vola tility.

        29.     Simila rly,ProSha res offers UVXY,a VIX-Linked ETFtra ded onthe NYSE,

which a llows investors to bet tha t the prices ofVIX Fu tu res willincrea se,inotherwords,tha t the

ma rket willincrea sing ly expect intensifying vola tility.

        30.     The volu me oftra ding a ctivity inthese VIX-Linked investments ha s sha rply

increa sed inrecent yea rs,with da ily tra nsa ctions inVIX-Linked ETFs a nd ETNs inthe billions

ofdolla rs.

    B.VIX SettlementCalcu lation M echanics

        31.     Cboe’s formu la forca lcu la ting the VIX Settlement Price is follows:




        32.     The va lu es u sed inthe ca lcu la tioninclu de:(1)forwa rd SPX level“F”;(2)time to

expira tion“T”;(3)risk-free interest ra te “R”;(4)“Ki”representing the strike price fora ny g iven

OTM SPX option“i”;(5)the price oftha t selected option“Q(Ki)”;a nd (6)the a vera g e dista nce

betweenstrike prices immedia tely a bove a nd below the forwa rd indexlevel,or “ΔKi.”

        33.     As noted ea rlier,only “ou t-of-the-money”or“OTM ”SPX options a re inclu ded in

the VIX Settlement Ca lcu la tion. OTM SPX Options ha ve,by definition,no intrinsic present

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va lu e. A “ca ll”option,i.e.,the rig ht to bu y a na sset a t a pa rticu la rstrike price,is OTM whenthe

strike price ofthe optionis hig hertha nthe ma rket price ofthe u nderlying a sset. Inthe ca se ofa n

OTM ca lloption,the personholding the optionwou ld not exercise it,a s they ca npu rcha se the

u nderlying a sset more chea ply a t ma rket va lu e.

        34.     A “pu t”option,i.e.,the optionto sella na sset a t a pa rticu la rstrike price,is OTM

whenthe price ofthe u nderlying a sset is hig hertha nthe strike price. Intha t ca se,the person

holding the OTM pu t optionis betteroffselling a t the ma rket va lu e,ra thertha nexercising their

optiona nd selling a t the strike price.

        35.     Eventhou g h OTM options a re intrinsica lly worthless,they a re oftenpu rcha sed a s

a hedg ing mea su re. Ifma rket prices a re expected to rema instea dy,thenthere is less incentive to

pu rcha se OTM options,a s the OTM options a re likely to stayOTM a nd rema inworthless a t their

expira tion. Onthe otherha nd,ifthe ma rket is expected to be vola tile,pu rcha sing OTM options

ca nbe a nimporta nt protective stra teg y,a s a shifting ma rket ca ntu rnthem into ITM options by

the time oftheirexpiry.

    C.M arketM anipu lation of VIX-Linked Instru ments

        36.     Recent resea rch from the University ofTexa s indica tes tha t,throu g h the

exploita tionofthe ma nnerinwhich the VIX Settlement Price is ca lcu la ted,pa rties ha ve intu rn

ma nipu la ted the va lu e ofVIX-Linked Instru ments.

        37.     JohnGriffin,a professora t the University ofTexa s a nd the a u thorofthis

resea rch,notes severa lobserved ma rket pa tterns tha t demonstra te the existence ofVIX-Linked

Instru ment ma nipu la tion,inclu ding (1)sta tistica lly-a nd economica lly-sig nifica nt tra ding volu me

spikes inu nderlying SPX options;(2)tra ding volu me spikes which occu ronly inthe OTM SPX

options inclu ded inVIX Settlement ca lcu la tions bu t not the exclu ded ITM SPX Options;(3)the


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la ckofa spike involu me forsimila rS&P100IndexorS&P500ETFoptions,which a re not

connected to VIX deriva tives;(4)the u nu su a lly hig h tra de volu me ofdeep OTM pu t options a t

settlement which a re consistent with a ttempts to ma nipu la te VIX settlement prices;a nd (5)

certa inoptions tha t ha ve hig herweig ht inthe VIX formu la a nd tha t “exhibit jumps intra ding

volu me a t settlement tha t a re not present a t norma ltimes.”4

        38.     The spike in“deep”OTM SPX Options— those fu rthest a wa y from the strike

price a nd the lea st likely to hold a ny va lu e a bsent a severe ma rket swing — du ring the settlement

window is pa rticu la rly noteworthy. These deep OTM options a re otherwise ra rely tra ded bu t

ha ve a sig nifica nt ma nipu la tive impa ct onthe VIX Settlement Price.

        39.     Griffinconclu des tha t “a ma nipu la torca npu sh the prices ofilliqu id SPX options,

bu t rea p the pa yoffs inthe liqu id VIX deriva tives ma rket”,a scena rio tha t “a lig ns itselfwith

wha t one wou ld expect to see inthe ca se ofma rket ma nipu la tion.”5

        40.     AfterDr. Griffin’s tea m “thorou g hly investig a ted a lterna tive expla na tions”forthe

odd VIX ma rket beha viornoted a bove,he a nd his tea m fou nd tha t there wa s not a na lterna tive

expla na tiona side from delibera te ma rket ma nipu la tiontha t a dequ a tely ma de sense ofthe da ta .6

    D.W histleblowerAllegations

        41.     Ina dditionto Dr. Griffin’s finding s,the a nonymou s W histleblowerLettersent

Febru a ry 12,2018to the SEC a nd CFTC a lerted the a g encies to overt ma nipu la tionofthe VIX

tha t ha s led “to mu ltiple billions inprofits effectively ta kena wa y from institu tiona la nd reta il

investors.”7




4
  Griffin & Shams,supra note 1,a t 35,39–40.
5
  Id. a t 3.
6
  Id. a t 39.
7
  Whistleblower Letter,supra note 2.
                                                     10
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        42.      The letter,sent by “a na nonymou s whistleblowerwho ha s held seniorpositions a t

some ofthe la rg est investment firms inthe world,
                                                 ”notified the a g encies ofa “perva sive fla w [in

VIX]. . . [which]a llows tra ding firms with sophistica ted a lg orithms to move the VIX u p or

downby simply posting qu otes onS&Poptions a nd withou t needing to physica lly eng a g e ina ny

tra ding ordeploying a ny ca pita l.”8

        43.      The whistleblowertold othersou rces tha t “the ca lcu la tion[ofthe VIX settlement

va lu e]is not ba sed ontra ded prices bu t onmid prices –the middle betweenthe bid a nd a sk.

Cru cia lly . . . it does not requ ire a ny tra ding a ctivity forthe VIX indexto move –just posted bids

a nd offers.”9

        44.      The lettera lso u rg es “prompt investig a tion. . . before the consequ ences ofthis

ma rket ma nipu la tionriskto threa tennot only the sta bility offina ncia lma rkets bu t a lso ha ve

dra ma tic economic consequ ences.”10

        45.      The Commodity Fu tu res Tra ding Commission(“CFTC”),the Secu rities a nd

Excha ng e Commissions (“SEC”),a nd the Fina ncia lIndu stry Reg u la tory Au thority (“FINRA”)

ha ve a llha ve recently a nnou nced investig a tions ofVIX-Linked Instru ments.11

    E.TheDoeDefend ants’Conspiracyto M anipu latePrices of VIX-Linked Instru ments

        46.      The Doe Defenda nts combined,conspired,a nd/orcollu ded to ma nipu la te the

prices ofVIX-Linked Instru ments,a mou nting to a per se viola tionofthe Sherma nAct,15

U.S.C. §1a nd a lso viola ting the Commodities Excha ng e Act (“CEA”). Inthe a lterna tive,the

8
  Id.
9
  BobPisa ni,Volatilityindex manipulation contributed to the market plunge last week,whistleblower
alleges in interview,CNBC Tra derTa lk(Feb. 13,2018,2:23P.M ..),
https://www.cnbc.com/2018/02/13/whistleblower-ma rket-ma nipu la tion-of-vix-contribu ted-to-sell-
off.html.
10
   Whistleblower Letter,supra note 2.
11
   BenjaminBa in& M a tt Robinson,VIXFunds Face Fresh Scrutinyfrom U.S. Regulators,Bloomberg
M a rkets (Feb. 23,2018,3:44P.M .),https:/  /www.bloomberg .com/news/articles/2018-02-23/vix-fu nd-
blowu ps-spu r-u -s-to-probe-if-miscondu ct-pla yed-a-role.
                                                    11
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Doe Defenda nts’collu sionha d su bsta ntia la nticompetitive effects inthe ma rket forVIX-Linked

Instru ment inthe United Sta tes.

        47.      There is no leg itima te bu siness justifica tionorresu lting pro-competitive benefits

tha t expla inthe Doe Defenda nts’u nrea sona ble restra int oftra de.

        48.      M a nipu la tionofthe VIX-Linked Instru ments ma rket wou ld ha ve beenclose to

impossible fora sing le Defenda nt ta king u nila tera la ction,a s a sing le a ctorcou ld not ha ve

cou nted onthe ma rket not to cou ntera ct its efforts,ora nothercompetitorto ma nipu la te the

ma rket the opposite direction. Althou g h it is mu ch more difficu lt to ma nipu la te the VIX

downwa rd,la rg e institu tiona lpla yers working coopera tively were a ble to do so.

        49.      Recent da ta reg a rding the va lu e ofthe VIX a nd the VIX Settlement Price

indica tes there wa s a noma lou s a ctivity withinthe na rrow VIX settlement window. This a ctivity

ca u sed the VIX Settlement Price to be onma ny occa sions eithersig nifica ntly hig heror

sig nifica ntly lowertha nthe entire price ra ng e ofthe VIX,inthe da ys both before a nd the da y of

the VIX Settlement Price ca lcu la tion. The frequ ency ofthese u nlikely settlement va lu es ca nonly

be expla ined throu g h the coordina ted efforts ofmu ltiple pa rties tra ding a t a rtificia lprices.

     F. TheCboeDefend ants’Failu reto M eetStatu toryObligations u nd ertheCEA

        50.      The VIX is centra lto the Cboe Defenda nts’bu siness. InCboe’s ownwords,the

VIX is “the premierbenchma rkforU.S. stockma rket vola tility”12 a nd a “homeru n”produ ct.13

        51.      The Cboe Defenda nts ha ve pu blicly represented the VIX a s a “tra nspa rent,closely

reg u la ted,a nd hig hly relia ble g a u g e ofma rket sentiment with no history offailu re.”14


12
   W hite Pa per,The CBOEVola tility Index–VIX,Chica g o Boa rd Options Excha ng e,a t 2,
http://www.cboe.com/micro/vix/vixwhite.pdf(la st a ccessed April24,2018).
13
   CBOEHolding s,Inc.,Form S-4(Feb. 8,2017),
https: //www.sec.g ov/Archives/edg a r/da ta /1374310/000110465917007806/a16-23690_24425.htm.
14
   Elliott Bla irSmith,Opinion: How S&P 500 options maybe used to manipulated VIX‘fear gauge’,
M a rketW a tch (Ju ne 19,2017,2:06PM ),https:/   /www.ma rketwa tch.com/story/how-sp-500-options-ma y-
                                                     12
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         52.      The Cboe Defenda nts listed VIX Fu tu res a nd VIX Options pu rsu a nt to their

a u thority a s reg istered entities a nd boa rds oftra de desig na ted a s a contra ct ma rket u nderthe

Commodity Excha ng e Act,7U.S.C. §§1a (6),1(40). VIX Fu tu res a re only tra ded onthe Cboe

Fu tu res Excha ng es a nd VIX Options a re only tra ded onthe Cboe Excha ng e.

         53.      The Cboe Defenda nts ha d severa lsta tu tory oblig a tions u nderthe CEA,inclu ding

du ties to:

                  a.       “[E]sta blish,monitor,a nd enforce complia nce with “ru les prohibiting

                           a bu sive tra de pra ctices”;

                  b.       “[L]ist only contra cts not rea dily su sceptible to ma nipu la tion”;

                  c.       “[P]revent ma nipu la tion,price distortion,a nd disru ptions ofthe . . . ca sh-

                           settlement process throu g h ma rket su rveilla nce,complia nce,a nd

                           enforcement pra ctices a nd procedu res”;

                  d.       “[E]sta blish a nd enforce ru les –(A)to protect ma rkets a nd ma rket

                           pa rticipa nts from a bu sive pra ctices . . . ;a nd (B)to promote faira nd

                           equ ita ble tra ding onthe contra ct ma rket”;a nd

                  e.       “[E]sta blish a nd enforce disciplina ry procedu res tha t a u thorize the boa rd

                           oftra de to discipline,su spend,orexpelmembers orma rket pa rticipa nts

                           tha t viola te the ru les.”15

         54.      The Cboe Defenda nts esta blished a set ofru les tha t wou ld ha ve prevented

ma nipu la tionofthe VIX,inclu ding a prohibitionon“crea ting orindu cing a false,mislea ding or

a rtificia la ppea ra nce ofa ctivity in[a]secu rity . . . orforthe pu rpose ofu ndu ly orimproperly




be-u sed-to-ma nipu la te-vix-fea r-g a u g e-2017-06-19.
15
   7U.S.C. §§7(d)(2–4),(12),(13).
                                                            13
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influ encing the ma rket price of[a]secu rity . . . orforthe pu rpose ofma king a price which does

not reflect the tru e sta te ofthe ma rket in[a]secu rity.”16

        55.     Despite theirru lema king ,the Cboe Defenda nts failed to enforce these ru les to

prevent VIX ma nipu la tion.

        56.     There is a compelling rea sonwhy the Cboe Defenda nts chose not to enforce their

ru les to prevent ma nipu la tion. Cboe Defenda nts derive su bsta ntia lrevenu es from the fees ea rned

onea ch tra de ontheirpla tforms. Forthe 2013fisca lyea r,Cboe sta ted tha t “[t]he prima ry a nd

la rg est sou rce ofopera ting revenu es is tra nsa ctionfees,
                                                             ”with “[t]ra nsa ctionfees a ccou nt[ing ]for

69%,69.7%,a nd 73.4% oftota lopera ting revenu es forthe yea rended December31,2013,2012,

a nd 2011,respectively.”17

        57.     By pu blicizing the ma nipu la tionofthe VIX,Cboe wou ld ha ve drivena wa y

investors a nd dra stica lly redu ced the Cboe Defenda nts’profits.

        58.     W henCboe cha ng ed the VIX formu la in2003,it cha ng ed it ina wa y tha t ma de

the formu la ea sierto ma nipu la te. Before the formu la cha ng e,VIX u sed ITM ornea r-the-money

options onthe S&P100Index. This orig ina lformu la ma de the VIX more difficu lt to ma nipu la te

beca u se it g a ve more weig ht to ITM a nd nea r-the-money options tha t a re more frequ ently a nd

broa dly tra ded,compa red to the OTM options g ivensig nifica nt weig ht inthe new formu la tion.

Cboe Defenda nts ea rned sig nifica nt profits from ma king the VIX ea sierto ma nipu la te,a s the

cha ng e encou ra g ed ma nipu la tors to ma ke OTM tra des inhig hervolu mes,a nd intu rn,pa y more

intra nsa ctionfees.



16
   Cboe Excha ng e,Inc.,Ru les ofCboe Excha ng e,Inc.,Ru le 4.7(a),https:
                                                                        //www.cboe.com/pu blish/cboe-
ru les/
      cboe-excha ng e-inc-ru le-book.pdf(la st u pda ted Apr. 9,2018).
17
   CBOEHolding s,Inc.,SEC Form 10-K,a t 33,
http://otp.investis.com/clients/us/cboe1/SEC/secshow.a spx?Type=pa g e&Filing Id=9800949-174708-
256201&CIK=0001374310&Index=12300(Feb. 21,2014).
                                                   14
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        59.      In2013,the Cboe Defenda nts were a ssessed a $6millionfine for“systemic

brea kdowns intheirreg u la tory a nd complia nce fu nctions a s a self-reg u la tory org a niza tion,

inclu ding a failu re to enforce orevenfu llcomprehend ru les to prevent a bu sive short selling .”18

This wa s the first time the SEC ha d everpena lized “a nexcha ng e forviola tions rela ted to its

reg u la tory oversig ht.”19 The SEC fou nd tha t Cboe ha d pu t its bu siness interests before their

reg u la tory oblig a tions “by failing to properly investig a te a nd theninterfering with the SEC

investigation.”20

        60.      The Cboe Defenda nts ha ve ma inta ined prima ry responsibility foroversig ht ofthe

VIX settlement process despite theirnota ble priorfailu re inthis a rea . The Cboe Defenda nts’

interna lDepa rtment ofCFEReg u la tion(“CFER”)ostensibly performs ma rket su rveilla nce

a ctivities rela ted to the VIX settlement a nd a djudica tes necessa ry disciplina ry a ction.

        61.      Government reg u la tors continu e to find problems with the Cboe Defenda nts’

oversig ht oftheirtra ding pla tforms. The CFTC in2016fou nd tha t a sig nifica nt a mou nt ofsta ff

tu rnoverprevented the Cboe Defenda nts from ma inta ining su fficient complia nce sta fftha t wou ld

be a dequ a te to condu ct a nd complete investig a tions ina timely ma nner.21

        62.      The Cboe Defenda nts a lso a cted with knowledg e orreckless disreg a rd throu g h

theirfailu re to prevent VIX ma nipu la tion. They knew,orshou ld ha ve known,tha t the VIX wa s

being ma nipu la ted,a nd ha ve failed to a ddress the issu e.




18
   Press Relea se,SEC,SEC Charges CBOEFor RegulatoryFailures (Ju ne 11,2013),
https: //www.sec.g ov/news/ press-relea se/2013-2013-107htm.
19
   Id.
20
   Id. (empha sis a dded).
21
   CFTC,DivisionofM a rket Oversig ht,Trade Practice Rule Enforcement Review of the CBOEFutures
Exchange,LLC,a t 8(Ju ne 24,2016),
https: //www.cftc.g ov/sites/
                            defau lt/files/idc/grou ps/pu blic/@ iodcms/docu ments/file/rercboefu tu res062416.
pdf.
                                                      15
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        63.      Afterthe Griffin-Sha ms stu dy wa s pu blished inM a y 2017a nd presented the Cboe

Defenda nts with credible evidence ofma nipu la tion,the Cboe Defenda nts responded not by a n

investig a tion,bu t by ra ising false a nd impla u sible expla na tions forthe tra ding a noma lies ina n

effort to protect the repu ta tionofthe VIX a nd theirbottom line.

                                V.      CLASSACTION ALLEGATIONS

        64.      Pla intiffincorpora tes the a lleg a tions inea ch a bove nu mbered pa ra g ra ph.

        65.      Pla intiffbring s this a ctiononbeha lfofhimselfa nd a llothers simila rly situ a ted.

        66.      Pla intiffseeks to represent the following cla ss (“the Cla ss”),a s defined below:

                 All persons,corpora tions,or other leg a l entities residing in the
                 United Sta tes or its territories who tra nsa cted in VIX-Linked
                 Instru ments betweenM a rch 26,2004a nd the present (the “Cla ss
                 Period”).

        67.      Exclu ded from the Cla ss a re Defenda nts,a ny entity ordivisioninwhich

Defenda nts ha ve a controlling interest,a nd theirleg a lrepresenta tives,officers,directors,a ssig ns,

a nd su ccessors a nd the Ju dg e to whom this ca se is a ssig ned a nd the Ju dg e’s sta ff. Pla intiff

reserves the rig ht to a mend the Cla ss definitionifdiscovery a nd fu rtherinvestig a tionrevea ltha t

the Cla ss shou ld be expa nded,divided into su bcla sses,ormodified ina ny otherwa y.

        68.      The Cla ss is so nu merou s tha t individu a ljoinderofa llits members is

impra ctica ble. W hile the precise nu mbera nd identifica tionofcla ss members is u nknownto

Pla intiffa t this time a nd ca nbe a scerta ined only throu g h a ppropria te discovery,the Cla ss is

believed to nu mberinthe millions.

        69.      This a ctionis brou g ht a nd ma y properly be ma inta ined a s a cla ss a ctionpu rsu a nt

to the provisions ofFedera lRu les ofCivilProcedu re 23(a)(1)–(4)a nd 23(b)(1)–(3). This a ction

sa tisfies the nu merosity,commona lity,typica lity,a dequ a cy,predomina nce,a nd su periority

requ irements ofthose provisions. Commonqu estions offact a nd la w exist a s to a llcla ss

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members which predomina te overa ny qu estions a ffecting only individu a lcla ss members. These

commonleg a la nd factu a lqu estions,which do not va ry from Cla ss memberto Cla ss member,

a nd which ma y be determined withou t reference to the individu a lcircu msta nces ofa ny Cla ss

member,inclu de the following :

               a . W hether the Doe Defenda nts u nrea sona bly restra ined tra de in viola tion of

                   Section1ofthe Sherma nAct,15U.S.C. §1;

               b. W hether the Doe Defenda nts’condu ct a mou nts to a per se viola tion of

                   Section1ofthe Sherma nAct;

               c. W hether the Doe Defenda nts ma nipu la ted the VIX in viola tion of the

                   Commodity Excha ng e Act;

               d. W hether the Doe Defenda nts eng a g ed in a combina tion,conspira cy,a nd/or

                   a g reement to ma nipu la te prices ofVIX-Linked Instru ments;

               e. The identities ofthe pa rticipa nts inthe conspira cy;

               f. The du ra tiona nd scope ofthe conspira cy;

               g . W hether the Cboe Defenda nts failed to prevent ma nipu la tion ofthe VIX in

                   viola tionofthe Commodity Excha ng e Act;

               h. W hether the a lleg ed condu ct ofDefenda nts ca u sed injury to the bu siness or

                   property ofPla intiffa nd Cla ss members;

               i. W hetherinjunctive a nd/orequ ita ble reliefshou ld be a wa rded;a nd

               j. W hetherPla intiffa nd the Cla ss members a re entitled to a ctu a lda ma g es,costs,

                   restitu tion,disg org ement,sta tu tory,a nd/ortreble da ma g es.




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        70.     Pla intiff’s cla ims a re typica lofthe cla ims ofthe Cla ss members. Pla intiffa nd

otherCla ss members mu st prove the sa me facts inorderto esta blish the sa me cla ims,described

herein,which a pply to a llCla ss members.

        71.     Pla intiffis a na dequ a te representa tive ofthe Cla ss beca u se he is a memberofthe

Cla ss a nd his interests do not conflict with the interests ofthe Cla ss members he seeks to

represent. Pla intiffha s reta ined cou nselcompetent a nd experienced inthe prosecu tionof

complexa ntitru st cla ss a ctions,a nd tog etherPla intiffa nd his cou nselintend to prosecu te this

a ctionvig orou sly forthe benefit ofthe Cla ss. The interests ofCla ss members willbe fairly a nd

a dequ a tely protected by Pla intiffa nd his cou nsel.

        72.     A cla ss a ctionis su periorto othera va ila ble methods forthe faira nd efficient

a djudica tionofthis litig a tionsince individu a llitig a tionofthe cla ims ofa llCla ss members is

impra ctica ble. Evenifevery Cla ss membercou ld a fford individu a llitig a tion,the cou rt system

cou ld not. It wou ld be u ndu ly bu rdensome to the cou rts,inwhich individu a llitig a tionof

thou sa nds ofca ses (ormore)wou ld proceed. Individu a llitig a tionpresents a potentia lfor

inconsistent orcontra dictory judg ments,the prospect ofa ra ce forthe cou rthou se,a nd a n

inequ ita ble a lloca tionofrecovery a mong those with equ a lly meritoriou s cla ims. Individu a l

litig a tionincrea ses the expense a nd dela y to a llpa rties a nd the cou rt system inresolving the leg a l

a nd factu a lissu es commonto a llCla ss members’cla ims rela ting to the ma nipu la tionofVIX-

Linked Instru ments. By contra st,the cla ss a ctiondevice presents farfewerma na g ement

difficu lties a nd provides the benefit ofa sing le a djudica tion,economies ofsca le,a nd

comprehensive su pervisionby a sing le cou rt.




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        73.      The va riou s cla ims a sserted inthis a ctiona re a dditiona lly ora lterna tively

certifia ble u nderthe provisions ofFedera lRu les ofCivilProcedu re 23(b)(1)a nd/or23(b)(2)

beca u se:

                 a . The prosecu tionofsepa ra te a ctions by thou sa nds ofindividu a lCla ss members

                     wou ld crea te a risk ofinconsistent or va rying a djudica tions with respect to

                     individu a l Cla ss members, thu s esta blishing incompa tible sta nda rds of

                     condu ct forDefenda nts;

                 b. The prosecu tionofsepa ra te a ctions by individu a l Cla ss members wou ld a lso

                     crea te the riskofa djudica tions with respect to them tha t wou ld,a s a pra ctica l

                     ma tter,be dispositive ofthe interests ofthe other Cla ss members who a re not

                     a pa rty to su ch a djudica tions a nd wou ld su bsta ntia lly impa ir or impede the

                     a bility ofsu ch non-pa rty Cla ss members to protect theirinterests;a nd

                 c. Defenda nts ha ve a cted or refu sed to a ct ong rou nds g enera lly a pplica ble to the

                     entirety ofea ch ofthe Cla sses,thereby ma king a ppropria te fina l decla ra tory

                     a nd injunctive reliefwith respect to the Cla ss a s a whole.

                     VI.     FRAUDULENT CONCEALM ENT AND TOLLING

        74.      Defenda nts eng a g ed incondu ct tha t,by its na tu re,wa s inherently self-concea ling .

Defenda nts a ffirma tively,a ctively,a nd fra u du lently concea led theiru nla wfu lcondu ct from

Pla intiffa nd the Cla ss.

        75.      Pla intiffa nd Cla ss M embers were u na wa re ofDefenda nts’u nla wfu lcondu ct

du ring the limita tions period du e to the self-concea ling na tu re ofDefenda nts’condu ct. Du e to

the a nonymou s na tu re ofthe tra nsa ctions a t issu e inthis litig a tion,Pla intiffa nd Cla ss M embers

ha d a nd ha ve no wa y ofdetermining the identities oftheirtra ding pa rtners.


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        76.     Althou g h tra ding onits excha ng es is done a nonymou sly,Cboe collects a nd keeps

deta iled records ofwho tra des onthe excha ng es it ru ns. Cboe keeps tra ckofthe identities ofthe

tra ders,the timing ofthe tra de,theirtra ding pa rtners,a nd the volu me oftra des.

        77.     These deta iled records kept by Cboe a re not a va ila ble pu blicly a nd Cboe willnot

relea se them u ponpu blic requ est.

        78.     Beca u se the ma nipu la tive tra nsa ctions were ca rried ou t onCboe’s excha ng es,a nd

these excha ng es a re desig ned to workthrou g h a nonymou s tra ding ,the Cboe is the only keeperof

the records tha t cou ld identify Defenda nts,a side from the Defenda nts themselves. Du e to the

corpora te policies ofCboe,these records ca nnot be a ccessed withou t initia ting a more forma l

process,e.g .,a su bpoena forthese records.

        79.     Du e to the self-concea ling na tu re ofDefenda nts’a ctions a nd Cboe’s corpora te

policies keeping da ta onthe tra des ontheirexcha ng e a nonymou s,Pla intiffa nd Cla ss M embers

ha d no wa y to discoverthe u nla wfu lcondu ct priorto the pu blic a nnou ncements inFebru a ry

2018ofthe reg u la tory investig a tions into Cboe a nd the VIX.

        80.     Inresponse to the pu blica tionofDr. Griffin’s resea rch pa perwhich su g g ested

ma rket ma nipu la tioninthe VIX,Cboe repea tedly denied tha t ma nipu la tioninthe VIX ha d

occu rred,ca lling the finding s ba seless. The Cboe’s excha ng e officia ls simila rly cla imed tha t the

VIX settlement process wa s resista nt to ma nipu la tion. Cboe’s denia lofthe existence ofVIX

ma nipu la tioncontinu ed a t lea st throu g h Febru a ry 2018.

        81.     Giventhe self-concea ling na tu re ofDefenda nts’miscondu ct a nd Cboe’s pu blic

sta tements denying the existence ofsu ch miscondu ct,a ny sta tu te oflimita tions a ffecting or

limiting the rig hts ofa ctionby Pla intiffa nd Cla ss M embers ha s beentolled du ring the period of

the fra u du lent concea lment.


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                                      VII. ANTITRUST INJURY

        82.     Defenda nts’combina tion,conspira cy,a nd/ora g reement to ma nipu la te prices of

VIX-Linked Instru ments injured Pla intiffa nd Cla ss members by injuring competitioninthe

ma rket forVIX-Linked Instru ments inthe United Sta tes.

        83.     Defenda nts u nderstood the na tu re ofthe connectionbetweenthe va lu e ofVIX-

Linked Instru ments a nd the settlement price ofthe VIX,a nd therefore knew tha t they cou ld

ma nipu la te the prices ofVIX-Linked Instru ments by ma nipu la tionofthe VIX settlement price.

        84.     Defenda nts’conspira cy ca u sed VIX-Linked Instru ments to tra de a t a rtificia l

prices. Ha d Defenda nts not collu ded to ma nipu la te prices,those tra nsa cting inVIX-Linked

Instru ments wou ld ha ve eng a g ed intra nsa ctions a t competitive prices.

        85.     The u nla wfu lcondu ct ofDefenda nts deprived Pla intiffa nd Cla ss members

tra nsa cting inVIX-Linked Instru ments ofa competitive ma rketpla ce,a nd exposed Cla ss

members to a rtificia lvola tility.

        86.     Defenda nts’condu ct a nd conspira cy ha d the direct,intended,foreseea ble,a nd

proxima te resu lt ofinjuring Pla intiffa nd Cla ss members intheirbu siness a nd property,in

viola tionofSection1ofthe Sherma nAct,15U.S.C. §1.

        87.     The injury to Pla intiffa nd Cla ss members is the type the a ntitru st la ws were

desig ned to prevent a nd directly flows from Defenda nts’u nla wfu la nd a nticompetitive condu ct.

                                            COUNT I
                            Violation of theSherman Act,15U.S.C.§1
                                    AgainsttheDoeDefend ants

        88.     Pla intiffincorpora tes the a lleg a tions inea ch a bove nu mbered pa ra g ra ph.

        89.     The Doe Defenda nts entered into a nd eng a g ed ina combina tionorconspira cy in

u nrea sona ble restra int oftra de inviola tionofSection1ofthe Sherma nAct,15,U.S.C. §1.


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         90.    Throu g h theircondu ct,the Doe Defenda nts intended to restra intra de a nd a ctu a lly

restra ined tra de inviola tionofSection1. The Doe Defenda nts sha red a consciou s commitment to

a commonscheme a imed a t a chieving the u nla wfu lobjective ofma nipu la ting the prices ofVIX-

Linked Instru ments.

         91.    As a direct a nd proxima te resu lt ofthe Doe Defenda nts’a nticompetitive condu ct,

Pla intiffa nd Cla ss members ha ve beeninjured intheirbu siness orproperty a nd willcontinu e to

be injured intheirbu siness a nd property.

         92.    There a re no pro-competitive benefits oforleg itima te bu siness justifica tions for

the Doe Defenda nts’combina tion,conspira cy,a nd/ora g reement to restra intra de. Any a lleg ed

pro-competitive benefit orbu siness justifica tionis pretextu a la nd/orcou ld ha ve beena chieved

throu g h less restrictive mea ns.

         93.    The a nticompetitive combina tionorconspira cy occu rred withinthe follow ofa nd

su bsta ntia lly a ffected intersta te commerce.

         94.    The a lleg ed combina tionorconspira cy is a per se viola tionofthe federa la ntitru st

la ws.

         95.    Alterna tively,the a nticompetitive combina tion,conspira cy,a nd/ora g reement

a lleg ed resu lted insu bsta ntia la nticompetitive effects inthe VIX-Linked Instru ments ma rket in

the United Sta tes,inviola tionofthe federa la ntitru st la ws.

                VIII. VIOLATIONSOFTHE COM M ODITY EXCHANGE ACT

                                              COUNT II
                     M anipu lation in Violation of theCommod ityExchangeAct
                               7U.S.C.§1,et seq. and 17C.F.R.180.2
                                      AgainsttheDoeDefend ants

         96.     Pla intiffincorpora tes the a lleg a tions inea ch a bove nu mbered pa ra g ra ph.



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        97.     The Doe Defenda nts specifica lly intended to,a nd did infact ca u se u nla wfu la nd

a rtificia lfina lsettlement prices ofVIX-Linked Instru ments inviola tionofthe CEA,7U.S.C.

§1,et seq.

        98.     By theirintentiona lmiscondu ct a s a lleg ed herein,the Doe Defenda nts ea ch

viola ted Section9(a)(2)ofthe CEA,7U.S.C. §13(a)(2),a nd ca u sed prices ofVIX-Linked

Instru ments to be a rtificia ldu ring the Cla ss Period.

        99.     The Doe Defenda nts tra ded su bsta ntia lnu mbers ofOTM SPX Options du ring the

settlement period ofVIX-Linked Instru ments. The Doe Defenda nts la cked leg itima te pu rposes

forthese tra nsa ctions a nd tra nsa cted ina la rg e volu me ofOTM SPX Options withinthe VIX

settlement period inorderto a ffect the fina lsettlement price ofthe VIX,a nd therefore,the va lu es

ofVIX-Linked Instru ments.

        100. The Doe Defenda nts’eng a g ed inthese tra nsa ctions inOTM SPX Options inorder

to crea te false a nd mislea ding ma rket sig na ls reg a rding the tru e su pply a nd dema nd forSPX

Options a t va riou s strike prices a nd forVIX-Linked Instru ments. This intu rnled to a rtificia l

settlement prices forthe VIX a nd VIX-Linked Instru ments tha t did not a ccu ra tely reflect the

leg itima te ma rket su pply a nd dema nd forces. The Doe Defenda nts eng a g ed inthese tra nsa ctions

beca u se they held sig nifica nt positions where they stood to g a infrom the ma nipu la tion.

        101. Throu g h theirintentiona la nd u nla wfu lcondu ct,the Doe Defenda nts ca u sed

a rtificia lfina lsettlement prices ofthe VIX,a nd therefore a rtificia lprices ofthe VIX-Linked

Instru ments,inviola tionof7U.S.C. §§9(3),13(a)(2),25(a),a nd 17C.F.R. §180.2.

        102. Pla intiffa nd Cla ss M embers who held VIX-Linked Instru ments throu g h fina l

settlement du ring the Cla ss Period were deprived ofa la wfu lly-opera ting ma rket a nd su ffered




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injury a s a resu lt oftra nsa cting a t the a rtificia lprices tha t resu lted from Defenda nts’

ma nipu la tive condu ct.

         103. Pla intiffa nd Cla ss M embers a re entitled to da ma g es a s a resu lt ofthe Doe

Defenda nts’viola tions ofthe Commodity Excha ng e Act (“CEA”).

                                              COUNT III
                     M anipu lation in Violation of theCommod ityExchangeAct
                               7U.S.C.§1,et seq. and 7C.F.R.§180.1
                                      AgainsttheDoeDefend ants

         104. Pla intiffincorpora tes the a lleg a tions inea ch a bove nu mbered pa ra g ra ph.

         105. The CEA prohibits a ny person,directly orindirectly,from u sing oremploying or

a ttempting to u se oremploy,inconnectionwith a contra ct ofsa le ofa ny commodity inintersta te

commerce,a ny ma nipu la tive ordeceptive device orcontriva nce incontra ventionofru les a nd

reg u la tions tha t the CFTC promu lg a tes not la tertha n1yea ra fterJu ly 21,2010. 7U.S.C. §9(1);

7U.S.C. §25.

         106. The Doe Defenda nts viola ted Ru le 180.1(a),which wa s promu lg a ted by the

CFTC inJu ly 2011. 7C.F.R. §180.1. Ru le 180.1prohibits employment ofma nipu la tive devices

orscheme inconnectionwith a contra ct ofsa le fora ny commodity inintersta te commerce. Ru le

180.1(a)a lso ma kes it u nla wfu lto deliverthrou g h intersta te commerce,by a ny mea ns

wha tsoever,a false ormislea ding orina ccu ra te report concerning ma rket informa tionor

conditions tha t a ffect ortend to a ffect the price ofa ny commodity inintersta te commerce,

knowing ,ora cting inreckless disreg a rd ofthe fact tha t su ch report is false,mislea ding ,or

ina ccu ra te.

         107. The Doe Defenda nts’condu ct tra nsa cting inOTM SPX Options du ring the VIX

settlement period viola ted Ru le 180.1(a),a s these tra nsa ctions ha d no leg itima te pu rpose a nd

were tra nsa cted ininorderto crea te a na rtificia lfina lsettlement price forthe VIX a nd VIX-

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Linked Instru ments. The Doe Defenda nts’introdu ctionofthese OTM SPX Options crea ted

a rtificia la nd mislea ding ma rket sig na ls reg a rding the tru e levelofsu pply a nd dema nd forthese

va riou s OTM SPX Options. This led to a rtificia lprices forVIX-Linked Instru ments.

        108. Pla intiffa nd Cla ss M embers a re entitled to da ma g es forthese viola tions ofthe

CEA.

                                        COUNT IV
                Aid ingand AbettingViolation of theCommod ityExchangeAct
                                    7U.S.C.§1,et seq.
                                  AgainstAllDefend ants

        109. Pla intiffincorpora tes the a lleg a tions inea ch a bove nu mbered pa ra g ra ph.

        110. As a na lterna tive to Cou nts II & III,a nd ifthe Defenda nts a re not fou nd lia ble for

a prima ry viola tionofthe CEA,the Defenda nts a re lia ble fora iding a nd a betting ma nipu la tion.

        111. The Defenda nts knowing ly a ided,a betted,cou nseled,indu ced,a nd/orprocu red

the viola tions ofthe CEA a lleg ed herein. The Defenda nts did so knowing ofea ch other

Defenda nts’ma nipu la tionofthe VIX settlement va lu e,a nd willfu lly intended to a ssist these

ma nipu la tions,thereby resu lting inVIX-Linked Instru ments tra ding a t a rtificia lprices du ring the

Cla ss Period,inviola tionofSection22(a)(1)ofthe C.E.A.,7U.S.C. §25(a)(1).

        112. Pla intiffa nd Cla ss M embers a re entitled to a ctu a lda ma g es forthese viola tions of

the CEA.

                                       COUNT V
   Failu reto PreventM arketM anipu lation in Violation of theCommod ityExchangeAct
                                  7U.S.C.§1,et seq.
                             AgainsttheCboeDefend ants

        113. Pla intiffincorpora tes the a lleg a tions inea ch a bove nu mbered pa ra g ra ph.

        114. The Cboe Defenda nts did not enforce severa lru les tha t they were sta tu torily

requ ired to enforce a s reg istered entities u nderthe Commodity Excha ng e Act,7U.S.C. §25(b),


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1(a)(40). Su ch ru les inclu de,bu t a re not limited to,those codified a t 7U.S.C. §§7(d)(2)(A),

7(d)(3),7(d)(4),a nd 7(d)(12),which ma nda te tha t reg istered entities “enforce complia nce with

the ru les ofthe contra ct ma rket,inclu ding . . . ru les prohibiting a bu sive tra de pra ctices”,“list on

the contra ct ma rket only contra cts tha t a re not rea dily su sceptible to ma nipu la tion”,ha ve the

ca pa city a nd responsibility to prevent ma nipu la tion,price distortion,a nd disru ptions ofthe

delivery orca sh-settlement process”,a nd “esta blish a nd enforce ru les . . . to promote faira nd

equ ita ble tra ding onthe contra ct ma rket.”

        115. Cboe Defenda nts a cted inba d faith throu g h theirfailu re to enforce the ru les a s

requ ired by the Commodity Excha ng e Act. The Cboe Defenda nts profit ha ndsomely from fees

a tta ched to the hig h volu me oftra nsa ctions inVIX Fu tu res,VIX Options,a nd SPX Options.

W henconfronted with credible,expertly-resea rched a lleg a tions ofma nipu la tion,the Cboe

Defenda nts offered false a nd impla u sible expla na tions inorderto protect theirsou rce ofrevenu e.

        116. As a resu lt ofCboe Defenda nts’condu ct,Pla intiffa nd cla ss members ha ve

su ffered da ma g es withinthe scope ofSection22ofthe Commodity Excha ng e Act. 7U.S.C.

§25(b).

                                     IX.     REQUEST FOR RELIEF

        W HEREFORE,Pla intiff,onbeha lfofhimselfa nd a llothers simila rly situ a ted,pra y for

judg ment a g a inst Defenda nts a s follows:

        1.      Anordercertifying this a ctiona s a cla ss a ctionpu rsu a nt to Federa lRu le ofCivil

Procedu re 23,a nd a ppointing Pla intiffa nd his cou nselto represent the Cla ss;

        2.      Anorderfinding tha t Defenda nts a re jointly a nd severa lly lia ble forthe da ma g es

incu rred by Pla intiffa nd the Cla ss members;




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        3.       Anorderdecla ring tha t the a ctions ofDefenda nts,a s set ou t a bove,a re u nla wfu l

u nderSection1ofthe Sherma nAct;

        4.       Anorderdecla ring tha t the a ctions ofDefenda nts,a s set ou t a bove,a re u nla wfu l

u nderthe CEA;

        5.       Anorderenjoining Defenda nts from continu ing to eng a g e intheiru nla wfu l

condu ct;

        6.       Ana wa rd ofa ctu a lda ma g es,costs,restitu tion,disg org ement,sta tu tory,a nd/or

treble da ma g es u ndera pplica ble la w;

        7.       Ana wa rd ofmoneta ry da ma g es infavorofthe Pla intiffa nd the Cla ss a nd a g a inst

Defenda nts fortheirviola tionofthe Sherma nAct,ina na mou nt trebled with interest a ccording

to the federa la ntitru st la ws;

        8.       Ana wa rd ofcosts,expenses,a nd a ttorneys’fees a s permitted by la w;

        9.       Pre-a nd post-judg ment interest,to the extent a llowa ble;a nd

        10.      Su ch othera nd fu rtherreliefa s this Cou rt deems just a nd proper.

                                     X.       JURY TRIAL DEM ANDED

        Pla intiff,onbeha lfofhimselfa nd a llothers simila rly situ a ted,hereby dema nds a tria lby

jury inthis ca se a s to a llissu es so tria ble.



Da ted:April30,2018                                 Respectfu lly su bmitted,

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